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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )           4:02CR3165
                                        )
            Plaintiff,                  )
                                        )
vs.                                     )           ORDER
                                        )
VICENTE BELTRAN,                        )
                                        )
            Defendant.                  )

      IT IS ORDERED that:

      (1)   W. Russell Bowie is granted leave to withdraw and his motion (filing 83)
            to that extent is granted.

      (2)   The Federal Public Defender shall provide me with a nomination for a
            Panel Attorney to substitute for Mr. Bowie. I will then appoint counsel.

      March 23, 2006.                       BY THE COURT:

                                            s/ Richard G. Kopf
                                            United States District Judge
